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Name

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Mail ng address ; _ CLERK
Ancwocage. Ak. A951 US, DISTRICT

City, State, Zip C\ COURT
0} GUY pA82

Telephone

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

i wiviedon Were’ Ne. ;

(Enter full name of plaintiff in this action)

Case No. 3'(¥CV- OF=10 -TUG

Plaintiff, (To be supplied by Court)

Caneeh “cen aslo essstal, COMPLAINT UNDER

THE CIVIL RIGHTS ACT
250 Wosptak 9 oc\\ Awe, Ne 42 U.S.C. § 1983

VA ble
Qet HWA. UU OE , (NON-PRISONERS)

(Enter full names of defendant(s) in this action.
Do NOT use et al.)

Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

 

1. Plaintiff; This complaint alleges that the civil rights of <a iat | Monaro,
(print pur name)

who presently resides at Po Coy [LOSSW Annehoroas. Alu Gas ||

(mailing addregs)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1, Cow dob ors NSv low Nowilal is a citizen of

(name)
, and is employed as a
(state) (defendant's government positionstitle)

 

This defendant personally participated in causing my injury, and | want money
damages.
OR
The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 2, is a citizen of
(name)

, and is employed as a

(state) (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.
OR
___The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, is a citizen of
(name)

, and is employed as a

(state) (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.

OR

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4,” “Claim 5, etc.”).

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PS02 - § 1983 Non-Prisoner

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Claim_1: On or about \\, PNuwele BAX , my civil right to
AQWords (Date)
Porconake thes Sealy Reconls* due Prowse

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and

unusual eee tc. List nly one eee
was violated by Curl & xd aS Norn API.

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

 

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Dec, 2013
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Claim 2: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Claim_3: On or about , my civil right to
(Date)

 

{due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what

happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes No

2. If your answer is “Yes,” describe each lawsuit.
a | Laweult4: Comes " + Ao DNS - OW ex o| sol Balhs

Plaintiff(s _ Donaine, Sti Pa
Defendant(s) Conhorke Demen ns he. Wossihe

Name and location of court:

Docket number: CU \8-2\Q043Name ot Med Dieeler Nec de Yolen
Approximate date case was filed: _}-QO-\@ _ Date of final decision: 8 -QO-IB
Disposition: _ Dismissed _ Appealed xX Still pending

Issues Raised: \\\POCA- Veeonds - Vicor Awwowty - esol ol; Ov)

b. Lawsuit 2:

 

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $

 

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2. Punitive damages in the amount of $

 

3. An order requiring defendant(s) to

 

4, Adeclaration that

5. Other:

 

Plaintiff demands a trial by jury. Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint-is true and-correct.

Executed at on \D Weve Nae DOs

(Location) (Date)

 

laihtiffs Original Signature)

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney's Address and Telephone Number

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